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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW MEXICO



HAROLD ATENCIO,

             Plaintiff,

v.                                               No. 1:23-cv-00331-JFR-JMR

SAM BREGMAN, in his official capacity
as the District Attorney of the Second
Judicial District,

             Defendant.



           NOTICE OF STATE OF NEW MEXICO AND NEW MEXICO
     ATTORNEY GENERAL’S POSITION ON CONSTITUTIONALITY OF STATUTE


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        The State of New Mexico and New Mexico Attorney General Raúl Torrez (together, the

State), by and through Solicitor General Aletheia V.P. Allen and Deputy Solicitor General Nicholas

M. Sydow, file this notice of the State’s position on the constitutionality of NMSA 1978, Section

32A-4-33(D) (2022).

        As a preliminary matter, the State notes that Federal Rule of Civil Procedure 5.1(a) requires

a party challenging the constitutionality of a state statute to file a notice of constitutional question

and notify the state attorney general when the State or its officers are not a party. Rule 5.1(b)

requires the Court to certify that a statute has been questioned. Rule 5.1(c) permits the attorney

general to intervene after the notice is filed or the Court certifies the challenge, whichever is earlier.

In the present case, neither a notice of constitutional question, nor a certification of the challenge

has yet been filed, perhaps because the attorney general initially was named as a defendant before

the amendment of Plaintiff’s complaint. Nonetheless and in lieu of seeking formal intervention,

the State provides its position on the constitutionality of the statute challenged in this case by way

of this notice.

        The Tenth Circuit Court of Appeals recently reiterated in Peck v. McCann that “facially

content-based laws—those that target speech based on its communicative content—are

presumptively unconstitutional and may be justified only if the government proves that they are

narrowly tailored to serve compelling state interests.” 43 F.4th 1116, 1134 (10th Cir. 2022)

(alteration omitted). Plaintiff contends that Section 32A-4-33(D) criminalizes the disclosure of any

information in child abuse and neglect cases and, as such, is a facially content-based law that

targets speech based on its communicative content. Plaintiff thus argues that, pursuant to Peck,

Section 32A-4-33(D) is presumptively unconstitutional and fails to survive strict scrutiny.




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        The plaintiff in Peck was an attorney who represented family members in child abuse cases

in Colorado juvenile courts. Peck, 43 F.4th at 1121. She brought the suit to challenge the

constitutionality of the statute addressing the confidentiality requirement and enforcement in

Colorado’s Children’s Code, claiming that it violated her First Amendment rights by restricting

her disclosures and chilling her speech. Id. at 1121-22. The plaintiff had made statements to a

newspaper, as a result of which the juvenile court stated that she “may have disclosed information

to a non-party in violation of [the statute].” Id. at 1123. “The crux of [the plaintiff’s] claim [wa]s

a First Amendment challenge” to the statute. Id.

        The statute at issue in Peck stated:

        Any person who improperly releases or who willfully permits or encourages the
        release of data or information contained in the records and reports of child abuse or
        neglect to persons not entitled to access such information by this section or by
        section 19-1-303 commits a class 1 misdemeanor and shall be punished as provided
        in section 18-1.3-501, C.R.S.

43 F.4th at 1122 (emphasis omitted) (quoting Colo. Rev. Stat. § 19-1-307(4) (2021)). In other

words, the statute “prohibit[ed] the disclosure . . . [of] any data or information contained in the

records and reports of child abuse or neglect[,] . . . includ[ing] non-identifying information

contained in those reports.” Id. at 1127 (emphasis omitted). Accordingly, the Tenth Circuit held

that the statute was “a content-based restriction on speech in that it target[ed] and prohibit[ed]

speech based on its content, [such as] . . . information from child abuse reports,” and concluded

that the statute was subject to strict scrutiny. Id. at 1134-35.

        In its analysis of the statute under strict scrutiny, the Tenth Circuit held that the defendants 1

failed to show “that no alternative exist[ed] that [wa]s both ‘less restrictive’ than the existing law




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 The remaining defendants in Peck were the district attorney of the second judicial district in
Colorado and the executive director of the Colorado Department of Human Services. Id. at 1124.
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and would effectively achieve the state’s compelling interest” because, although difficult, the

alternative means suggested—a law that would limit identifying disclosures alone, requiring

someone to separate identifying information from non-identifying information—was feasible. See

id. at 1135. The Court thus held that the defendants failed to prove that the law was narrowly

tailored to serve compelling state interests. Id. at 1134, 1137. Of note, the Tenth Circuit also stated

that “the fact that forty-eight other states have laws similar or identical to Section 307 . . . does not

persuasively support a conclusion that allowing non-identifying disclosures would be an

unworkable accommodation to Colorado’s compelling interests,” and that “[i]t is no excuse for a

state that is violating the constitutional rights of its citizens to say ‘the federal government is paying

us to do it,’” referencing the statute’s relationship with the Child Abuse Prevention and Treatment

Act. Id. at 1137. The Court ultimately concluded that the statute was facially unconstitutional and

void. Id. at 1122, 1137.

        The facts and statutory language at issue in Peck are remarkably similar to those in the

present case. Here, Plaintiff is also an “attorney who represents foster parents and relatives of

children subject to abuse and neglect proceedings.” (Compl. 2 ¶ 6) As specifically relevant to this

case, Plaintiff represented a relative of an infant who is subject to such a proceeding, and Plaintiff

wishes to publicly comment on the Children, Youth and Families Department’s (CYFD)

investigative techniques and actions. (Compl. 2 ¶ 8) However, he claims that Section 32A-4-33

precludes him from doing so. (Compl. 2 ¶ 9) He therefore brings the present lawsuit to challenge

the constitutionality of Section 32A-4-33, claiming that it violates his First Amendment rights by

restricting his disclosures and chilling his speech.

        Section 32A-4-33(D) states:

        Whoever intentionally and unlawfully releases any information or records closed
        to the public pursuant to the Abuse and Neglect Act or releases or makes other

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       unlawful use of records in violation of that act is guilty of a petty misdemeanor and
       shall be sentenced pursuant to the provisions of [NMSA 1978, Section 31-19-
       1 (1984) 2].

Section 32A-4-33(A) identifies which “information or records” are “closed to the public”:

       All records or information concerning a party to a neglect or abuse proceeding,
       including social records, diagnostic evaluations, psychiatric or psychological
       reports, videotapes, transcripts and audio recordings of a child’s statement of abuse
       or medical reports incident to or obtained as a result of a neglect or abuse
       proceeding or that were produced or obtained during an investigation in anticipation
       of or incident to a neglect or abuse proceeding shall be confidential and closed to
       the public.

In other words, like the Colorado statute, Section 32A-4-33(D) “prohibits the disclosure . . . [of]

any . . . information [closed to the public] contained in the records and reports of child abuse or

neglect.” See Peck, 43 F.4th at 1127. Likewise, Section 32A-4-33(D) “is a content-based restriction

on speech in that it targets and prohibits speech based on its content, [such as] . . . information

from child abuse reports.” See Peck, 43 F.4th at 1134-35.

       Plaintiff contends that Section 32A-4-33(D) “seeks to enforce the [c]onfidentiality [s]tatute

by criminalizing the disclosure of any information or record closed to the public, even

non[-]identifying information.” (Compl. 4 ¶ 21) The State believes that Section 32-A-33(D) should

be read more narrowly as, unlike the Colorado law, the “information or records closed to the

public” referenced in Section 32A-4-33(D) are limited to such information or records “concerning

a party.” Section 32A-4-33(A). Those protected records should be deemed to only encompass

identifying records and information. Indeed, as set forth in Peck, separating identifying and non-

identifying information would constitute an alternative means that would achieve the compelling

interest of protecting child-abuse information. See 43 F.4th at 1135-36. Nonetheless, if the Court



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 For the conviction of a petty misdemeanor, Section 31-19-1(B) allows for imprisonment in a
county jail for a definite term less than six months or payment of a fine of not more than five
hundred dollars or both, in the discretion of the judge.
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concludes that Section 32A-4-33(D) applies to non-identifying information and non-anonymized

records or information in CYFD records, the State’s position is that the statute is subject to strict

scrutiny and, to the extent the statute reaches non-identifying and non-anonymized information,

cannot survive strict scrutiny according to the holding in Peck. See Peck, 43 F.4th at 1135.

Accordingly, to the extent Section 32A-4-33(D) applies to such non-identifying information, the

State submits that it is unconstitutional and void. See Peck, 43 F.4th at 1122, 1137. The Attorney

General has prosecutorial authority in New Mexico, NMSA 1978, § 8-5-2(B) (1975), but does not

prosecute activity proscribed by a state statute in violation of the United States Constitution.

                                         CONCLUSION

       By this notice, the State provides its position on the constitutionality of Section 32A-4-33;

however, the State has no other interest in these proceedings and does not seek permission to

formally intervene.

                                              By: /s/ Aletheia V.P. Allen

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                               CERTIFICATE OF SERVICE

      I certify that on July 10, 2023, I served the foregoing on counsel of record for all parties

via the CM/ECF system.


                                                    /s/ Aletheia V.P. Allen
                                                    Aletheia V.P. Allen




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